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CRIMINAL COURT OF THE CITY OF NEW YORK
COUNTY OF NEW YORK: PART JURY 5

 

xX
THE PEOPLE OF THE STATE OF NEW YORK
-against- DECISION AND ORDER
DOCKET NO.: 2013NY050589
HELEEN MEES,
Defendant.
X

 

STEVEN M. STATSINGER, J.

Defendant's motion to vacate the judgment pursuant to CPL §440.10 is denied. A
prerequisite to the availability of this remedy is that a conviction has been entered against
the defendant. CPL §§440.10, 1.20(15).

Here, a conviction was not entered against the defendant. A conviction “means the
entry of a plea of guilty to, or a verdict of guilty upon, an accusatory instrument other than
a felony complaint, or to one or more counts of such instrument.” CPL §1.20(13). An ACD
is not a conviction or an admission of guilt. CPL §170.55(8). As such, 440.10 relief is
unavailable in this case.

This constitutes the Decision and Order of the Court.

 

Dated: October 30, 2018

New York, New York Steven M.Statsinger_)

Judge of the Criminal Court
